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  EXHIBIT 1
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Patent   Claim Claim Element                    Allegation                              Support for Alleged Infringement
’004     1     A method of implementing a       “[T]he Uber application or Uber         Uber website screenshot
               proximity driven activity,       Network, which includes the
               comprising:                      passenger application, driver
                                                application, Uber server, and all
                                                related technology (hereinafter,
                                                ‘Uber App’) performs a method of
                                                implementing a proximity driven
                                                activity.” Compl. ¶ 42.
               specifying an activity to be     “[T]he Uber App specifies an            Uber passenger application screenshot,
               executed at an indeterminate     activity to be executed at an           Uber driver application screenshot, Uber
               destination location;            indeterminate destination location.”    website screenshot
                                                Id. ¶ 43.
               storing an executable software “[T]he Uber App stores an                 Uber website screenshot, third party website
               code corresponding to the        executable software code                screenshot
               activity;                        corresponding to the activity.” Id. ¶
                                                44.
               determining a current location “[T]he Uber App determines a              Uber website screenshot, Uber passenger
               of a mobile computing device; current location of a mobile               application screenshot, Uber driver
                                                computing device.” Id. ¶ 45.            application screenshot
               determining whether the          “[T]he Uber App determines              Uber website screenshot, Uber passenger
               destination location is within a whether the destination location is     application screenshot
               predefined proximity range       within a predefined proximity range
               from the current location of     from the current location of the
               the mobile computing device; mobile computing device.” Id. ¶ 46.
               executing the executable         “[T]he Uber App executes the            Google Play Store screenshot, Uber
               software code at a time when     executable software code at a time      passenger application screenshot
               the destination location is      when the destination location is
               within the proximity range of within the proximity range of the
               the mobile computing device; mobile computing device.” Id. ¶ 47.
               and
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Patent   Claim Claim Element                    Allegation                               Support for Alleged Infringement
               transmitting an address of the   “[T]he Uber App transmits an             Google Play Store screenshot
               destination location to the      address of the destination location to
               mobile computing device.         the mobile computing device.” Id. ¶
                                                48.
         12    A system for implementing a      “[T]he Uber application or Uber          Uber website screenshot
               proximity driven activity,       Network, which includes the
               comprising:                      passenger application, driver
                                                application, Uber server, and all
                                                related technology (hereinafter,
                                                ‘Uber App’) performs a system of
                                                implementing a proximity driven
                                                activity.” Id. ¶ 50.
               a calendar module for            “[T]he Uber App uses a calendar          Uber passenger application screenshot,
               specifying an activity to be     module for specifying an activity to     Uber driver application screenshot
               executed at an indeterminate     be executed at an indeterminate
               destination location;            destination location.” Id. ¶ 51.
               a server for storing an          “[T]he Uber App uses a server for        Uber website screenshot, third party website
               executable software code         storing an executable software code      screenshot
               corresponding to the activity    corresponding to the activity and for
               and for determining a current    determining a current location of a
               location of a mobile             mobile computing device.” Id. ¶ 52.
               computing device; and




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Patent   Claim Claim Element                     Allegation                              Support for Alleged Infringement
               the server determining            “[T]he Uber App server determines     Uber website screenshot, Google Play Store
               whether the destination           whether the destination location is   screenshot
               location is within a predefined   within a predefined proximity range
               proximity range from the          from the current location of the
               current location of the mobile    mobile computing device, and, when
               computing device, and, when       the server determines that the
               the server determines that the    destination location is within the
               destination location is within    proximity range of the mobile
               the proximity range of the        computing device, the server
               mobile computing device, the      executes the executable software
               server executes the executable    code, and transmits an address of the
               software code, and transmits      destination location to the mobile
               an address of the destination     computing device.” Id. ¶ 53.
               location to the mobile
               computing device.
’464     1     A method of distributing          “[T]he Uber application or Uber         Uber website screenshot
               vehicle control information,      Network, which includes the
               comprising:                       passenger application, driver
                                                 application, Uber server, and all
                                                 related technology (hereinafter,
                                                 ‘Uber App’) performs a method of
                                                 distributing vehicle control
                                                 information.” Id. ¶ 69.
               determining at a controller       “[T]he Uber App determines at a         Third party website screenshot
               located at a location vehicle     controller located at a location
               control information associated    vehicle control information
               with the location and with an     associated with the location and with
               operator of a vehicle;            an operator of a vehicle.” Id. ¶ 70.
               transmitting the vehicle          “[T]he Uber App transmits the           Third party website screenshot, Uber
               control information to a          vehicle control information to a        passenger application screenshot
               vehicle device;                   vehicle device.” Id. ¶ 71.



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Patent   Claim Claim Element                     Allegation                               Support for Alleged Infringement
               receiving the vehicle control     “[T]he Uber App receives the             Third party website screenshot
               information at the vehicle        vehicle control information at the
               device; and                       vehicle device.” Id. ¶ 72.
               arranging at the vehicle device   “[T]he Uber App arranges at the          Third party website screenshot, Uber driver
               for an indication to be           vehicle device for an indication to be   application screenshot, Uber passenger
               provided to the operator in       provided to the operator in              application screenshot
               accordance with the vehicle       accordance with the vehicle control
               control information.              information.” Id. ¶ 73.
         20    A system, comprising:             “[T]he Uber application or Uber          Uber website screenshot
               controller located at a           Network, which includes the
               location, wherein the             passenger application, driver
               controller is adapted to (i)      application, Uber server, and all
               determine vehicle control         related technology (hereinafter,
               information associated with       ‘Uber App’) is a system comprising
               the location and with an          a controller located at a location,
               operator of a vehicle and (ii)    wherein the controller is adapted to
               transmit the vehicle control      (i) determine vehicle control
               information;                      information associated with the
                                                 location and with an operator of a
                                                 vehicle and (ii) transmit the vehicle
                                                 control information.” Id. ¶ 75.
               a vehicle device adapted to (i)   “[T]he Uber App is a system              Third party website screenshot
               receive the vehicle control       comprising a vehicle device adapted
               information and (ii) arrange      to (i) receive the vehicle control
               for an indication to be           information and (ii) arrange for an
               provided to the operator in       indication to be provided to the
               accordance with the vehicle       operator in accordance with the
               control information.              vehicle control information.” Id. ¶
                                                 76.




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Patent   Claim Claim Element                     Allegation                               Support for Alleged Infringement
’085     1     1. A method for providing         “[T]he Uber application or Uber          Uber website screenshot, third party website
               user location information for a   Network, which includes the              screenshot
               personal information              passenger application, driver
               management program,               application, Uber server, and all
               comprising:                       related technology (hereinafter,
                                                 ‘Uber App’) performs a method for
                                                 providing user location information
                                                 for a personal information
                                                 management program.” Id. ¶ 92.
               generating position               “[T]he Uber App generates position       Uber website screenshot, Uber passenger
               coordinates of a wireless         coordinates of a wireless device and     application screenshot, third party website
               device and time information       time information indicating times        screenshot, Uber driver application
               indicating times when the         when the position coordinates were       screenshot
               position coordinates were         generated, wherein a user is
               generated, wherein a user is      associated with the wireless device.”
               associated with the wireless      Id. ¶ 93.
               device;
               processing the position           “[T]he Uber App processes the            Uber passenger application screenshot,
               coordinates and time              position coordinates and time            Uber driver application screenshot, Uber
               information to determine          information to determine whether a       website screenshot, third party website
               whether a rate of change in       rate of change in distance per unit of   screenshot
               distance per unit of time in a    time in a series of position
               series of position coordinates    coordinates at times indicates a
               at times indicates a predefined   predefined activity of the user
               activity of the user occurring    occurring during an activity time
               during an activity time period    period during which the position
               during which the position         coordinates and the time information
               coordinates and the time          were generated.” Id. ¶ 94.
               information were generated;
               and




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Patent   Claim Claim Element                     Allegation                               Support for Alleged Infringement
               generating information on the “[T]he Uber App generates                    Uber website screenshot, Uber driver
               determined predefined activity information on the determined               application screenshot, third party website
               for the activity time period.  predefined activity for the activity        screenshot
                                              time period.” Id. ¶ 95.
         20    A method for generating a      “[T]he Uber application or Uber             Uber website screenshot, third party website
               calendar for a personal        Network, which includes the                 screenshot, Uber passenger application
               information management,        passenger application, driver               screenshot, Uber driver application
               program, comprising:           application, Uber server, and all           screenshot
                                              related technology (hereinafter,
                                              ‘Uber App’) performs a method for
                                              generating a calendar for a personal
                                              information management program.”
                                              Id. ¶ 97.
               receiving selection of a time  “[T]he Uber App receives selection          Uber website screenshot, Uber passenger
               interval;                      of a time interval.” Id. ¶ 98.              application screenshot, Uber driver
                                                                                          application screenshot
               for the selected time interval,   “[T]he Uber App determines               Uber website screenshot, Uber passenger
               determining position              position coordinates of a wireless       application screenshot, Uber driver
               coordinates of a wireless         device and time information              application screenshot
               device and time information       indicating times when the position
               indicating times when the         coordinates were generated, wherein
               position coordinates were         a user is associated with the wireless
               generated, wherein a user is      device, for the selected time
               associated with the wireless      interval.” Id. ¶ 99.
               device;




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Patent   Claim Claim Element                       Allegation                              Support for Alleged Infringement
               processing the position             “[T]he Uber App processes the           Uber website screenshot
               coordinates and time                position coordinates and time
               information during the              information during the selected time
               selected time interval to           interval to determine whether a rate
               determine whether a rate of         of change in distance per unit of
               change in distance per unit of      time in a series of the position
               time in a series of the position    coordinates at times during the
               coordinates at times during the     selected time interval indicates a
               selected time interval indicates    predefined activity of the user
               a predefined activity of the        occurring during the selected time
               user occurring during the           interval.” Id. ¶ 100.
               selected time interval;
               generating information on the       “[T]he Uber App generates               Uber website screenshot
               predefined activity within the      information on the predefined
               selected time interval; and         activity within the selected time
                                                   interval.” Id. ¶ 101.
               displaying information on the       “[T]he Uber App displays                Uber website screenshot, Uber passenger
               predefined activity of the user     information on the predefined           application screenshot, Uber driver
               and the selected time interval.     activity of the user and the selected   application screenshot
                                                   time interval.” Id. ¶ 102.
’215     1     A computer-implemented              “[T]he Uber application or Uber         Google Play Store screenshot
               method of responding to a           Network, which includes the
               problem condition,                  passenger application, driver
               comprising: automatically           application, Uber server, and all
               detecting availability of a first   related technology (hereinafter,
               candidate to respond to a           ‘Uber App’) is a computer
               problem condition;                  implemented method of responding
                                                   to a problem condition.” Id. ¶ 118.
               automatically detecting             “[T]he Uber App automatically           Uber website screenshot, Uber passenger
               availability of a first candidate   detects availability of a first         application screenshot, Uber driver
               to respond to a problem             candidate to respond to a problem       application screenshot
               condition;                          condition.” Id. ¶ 119.


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Patent   Claim Claim Element                    Allegation                              Support for Alleged Infringement
               responsive to the detecting:     “[T]he Uber App is responsive to the    Uber website screenshot
                                                detecting.” Id. ¶ 120.
               automatically assigning          “[T]he Uber App automatically           Uber website screenshot
               responsibility for the problem   assigns responsibility for the
               condition to the first           problem condition to the first
               candidate; and                   candidate.” Id. ¶ 121.
               receiving a confirmation from    “[T]he Uber App receives a              Uber website screenshot
               the first candidate indicating   confirmation from the first candidate
               acceptance of responsibility     indicating acceptance of
               for the problem condition.       responsibility for the problem
                                                condition.” Id. ¶ 122.
         5     A computer-implemented           “[T]he Uber application or Uber         Google Play Store screenshot
               method of managing an            Network, which includes the
               information technology           passenger application, driver
               device, comprising:              application, Uber server, and all
                                                related technology (hereinafter,
                                                ‘Uber App’) is a computer
                                                implemented method of managing
                                                an information technology device.”
                                                Id. ¶ 124.
               receiving an alert from a        “[T]he Uber App receives an alert       Uber website screenshot
               managed information              from a managed information
               technology device;               technology device.” Id. ¶ 125.
               receiving availability           “[T]he Uber App receives                Uber website screenshot, Uber passenger
               information about a plurality    availability information about a        application screenshot
               of candidates;                   plurality of candidates.” Id. ¶ 126.
               automatically selecting a        “[T]he Uber App automatically           Uber website screenshot, Uber passenger
               candidate qualified and          selects a candidate qualified and       application screenshot
               available to respond to the      available to respond to the event
               event from among the             from among the plurality of
               plurality of candidates;         candidates.” Id. ¶ 127.



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Patent   Claim Claim Element                     Allegation                                Support for Alleged Infringement
               automatically assigning           “[T]he Uber App automatically             Uber website screenshot
               responsibility for the alert to   assigns responsibility for the alert to
               the candidate; and                the candidate.” Id. ¶ 128.
               receiving a reply from the        “[T]he Uber App receives a reply          Uber website screenshot
               candidate indicating              from the candidate indicating
               acceptance of responsibility      acceptance of responsibility for the
               for the alert.                    alert.” Id. ¶ 129.
         14    A computer-implemented            “[T]he Uber application or Uber           Google Play Store screenshot
               method of managing an             Network, which includes the
               information technology            passenger application, driver
               device, comprising:               application, Uber server, and all
                                                 related technology (hereinafter,
                                                 ‘Uber App’) is a computer
                                                 implemented method of responding
                                                 to a problem condition.” Id. ¶ 131.
               receiving an alert from a         “[T]he Uber App receives an alert         Uber website screenshot
               managed information               from a managed information
               technology device;                technology device.” Id. ¶ 132.
               automatically selecting a         “[T]he Uber App automatically             Uber website screenshot, Uber passenger
               candidate qualified to respond    selects a candidate qualified to          application screenshot
               to the event;                     respond to the event.” Id. ¶ 133.
               automatically determining if      “[T]he Uber App automatically             Uber website screenshot, Uber passenger
               the candidate is available to     determines if the candidate is            application screenshot
               respond to the event;             available to respond to the event.”
                                                 Id. ¶ 134.
               automatically sending an          “[T]he Uber App automatically             Third party website screenshot, Uber
               instant message to the            sends an instant message to the           website screenshot
               candidate containing              candidate containing information
               information about the alert;      about the alert.” Id. ¶ 135.




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Patent   Claim Claim Element                     Allegation                                Support for Alleged Infringement
               receiving an instant message      “[T]he Uber App receives an instant       Uber website screenshot, third party website
               from the candidate indicating     message from the candidate                screenshot
               acceptance of responsibility      indicating acceptance of
               for the alert; and                responsibility for the alert.” Id. ¶
                                                 136.
               automatically assigning           “[T]he Uber App automatically             Third party website screenshot, Uber
               responsibility for the alert to   assigns responsibility for the alert to   website screenshot
               the candidate.                    the candidate.” Id. ¶ 137.
         17    A computer-implemented            “[T]he Uber application or Uber           Google Play Store screenshot
               method for assigning              Network, which includes the
               responsibility for responding     passenger application, driver
               to a fault condition in an        application, Uber server, and all
               information technology            related technology (hereinafter,
               device, comprising:               ‘Uber App’) is a computer
                                                 implemented method of responding
                                                 to a problem condition.” Id. ¶ 139.
               (a) receiving an alert from a     “[T]he Uber App receives an alert         Uber website screenshot
               monitored information             from a monitored information
               technology device, the alert      technology device, the alert
               describing an event in the        describes an event in the monitored
               monitored information             information technology device.” Id.
               technology device;                ¶ 140.
               (b) automatically detecting an    “[T]he Uber App automatically             Uber website screenshot, Uber passenger
               available administrator           detects an available administrator        application screenshot
               qualified to respond to the       qualified to respond to the event.”
               event;                            Id. ¶ 141.
               (c) automatically sending a       “[T]he Uber App automatically             Third party website screenshot, Uber
               first instant message to the      sends a first instant message to the      website screenshot
               available administrator, the      available administrator, the instant
               instant message referencing       message references the alert and
               the alert and requesting an       requests acknowledgment.” Id. ¶
               acknowledgement;                  142.


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Patent   Claim Claim Element                     Allegation                               Support for Alleged Infringement
               (d) receiving a second instant    “[T]he Uber App receives a second        Uber website screenshot, third party website
               message from the available        instant message from the available       screenshot
               administrator, the second         administrator, the second instant
               instant message containing the    message contains the
               acknowledgement from the          acknowledgement from the
               administrator; and                administrator.” Id. ¶ 143.
               (e) automatically assigning       “[T]he Uber App automatically            Third party website screenshot, Uber
               responsibility for the event to   assigns responsibility for the event     website screenshot
               the available administrator.      to the available administrator.” Id. ¶
                                                 144.
’616     1     A system comprising:              “[T]he Uber application or Uber          Uber passenger application screenshot, third
               a mobile object server            Network, which includes the              party website screenshot
               operable to receive               passenger application, driver
               information from each of a        application, Uber server, and all
               plurality of mobile objects       related technology (hereinafter,
               within a geographic space and     ‘Uber App’) is a system comprising
               perform a process associated      a mobile object server operable to
               with each mobile object; and      receive information from each of a
                                                 plurality of mobile objects within a
                                                 geographic space and perform a
                                                 process associated with each mobile
                                                 object.” Id. ¶ 159.




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Patent   Claim Claim Element                     Allegation                                Support for Alleged Infringement
               a registration server operable    “[T]he Uber App is a system               Uber passenger application screenshot, third
               to register a first additional    comprising a registration server          party website screenshot, Uber website
               process that is to be performed   operable to register a first additional   screenshot, Uber driver application
               in addition to a first basic      process that is to be performed in        screenshot
               process common to the             addition to a first basic process
               plurality of mobile objects, in   common to the plurality of mobile
               association with one mobile       objects, in association with one
               object among the plurality of     mobile object among the plurality of
               mobile objects, wherein the       mobile objects, wherein the mobile
               mobile object server is           object server is operable to perform,
               operable to perform, as the       as the first additional process, a
               first additional process, a       process of providing notification that
               process of providing              the one mobile object has become
               notification that the one         distanced from a predetermined
               mobile object has become          location or region.” Id. ¶ 160.
               distanced from a
               predetermined location or
               region.
’275     1     A method comprising:              “[T]he Uber application or Uber           Uber website screenshot, third party website
               obtaining, by one or more         Network, which includes the               screenshot
               processor, passenger              passenger application, driver
               information of one or more        application, Uber server, and all
               passenger traveling within a      related technology (hereinafter,
               transportation network,           ‘Uber App’) obtains, by one or more
               wherein the passenger             processor, passenger information of
               information includes              one or more passenger traveling
               passenger location                within a transportation network,
               information; and                  wherein the passenger information
                                                 includes passenger location
                                                 information.” Id. ¶ 175.




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Patent   Claim Claim Element                   Allegation                          Support for Alleged Infringement
               providing, by the one or more   “[T]he Uber App provides by one or Third party website screenshot
               processor, an output based on   more processor, an output based on
               a processing of the passenger   a processing of the passenger
               information, wherein the        information, wherein the processing
               processing includes             includes processing to determine an
               processing to determine an      adapted timetable for providing a
               adapted timetable for           reduced cumulative wait time.” Id. ¶
               providing a reduced             176.
               cumulative wait time.
         17    A system comprising:            “[T]he Uber application or Uber     Uber website screenshot
               a memory;                       Network, which includes the
                                               passenger application, driver
                                               application, Uber server, and all
                                               related technology (hereinafter,
                                               ‘Uber App’) is a system comprising
                                               a memory.” Id. ¶ 178.
               one or more processor in        “[T]he Uber App is a system         Uber website screenshot
               communication with the          comprising one or more processor in
               memory; and                     communication with the memory.”
                                               Id. ¶ 179.
               program instructions            “[T]he Uber App is a system with    Uber website screenshot
               executable by the one or more   program instructions executable by
               processor via the memory to     the one or more processor via the
               perform a method, the method    memory to perform a method.” Id. ¶
               comprising:                     180.




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Patent   Claim Claim Element                    Allegation                            Support for Alleged Infringement
               obtaining passenger              “[T]he Uber App is a system that       Uber website screenshot
               information of one or more       performs a method to obtain
               passenger traveling within a     passenger information of one or
               transportation network,          more passenger traveling within a
               wherein the passenger            transportation network, wherein the
               information includes             passenger information includes
               passenger location               passenger location information.” Id.
               information; and                 ¶ 181.
               providing one or more output     “[T]he Uber App is a system that       Uber website screenshot
               based on a processing of the     performs a method to provide one or
               passenger information,           more output based on a processing
               wherein the processing           of the passenger information,
               includes determining one or      wherein the processing includes
               more flow matrix, using the      determining one or more flow
               one or more flow matrix to       matrix, using the one or more flow
               determine a cumulative wait      matrix to determine a cumulative
               time, and determining an         wait time, and determining an
               adapted timetable using the      adapted timetable using the
               cumulative wait time, wherein    cumulative wait time, wherein the
               the output includes the          output includes the adapted
               adapted timetable, the adapted   timetable, the adapted timetable
               timetable having one or more     having one or more adjusted vehicle
               adjusted vehicle timing, and     timing, and wherein the output is
               wherein the output is            transmitted to a computing node of a
               transmitted to a computing       vehicle operator of the transportation
               node of a vehicle operator of    network.” Id. ¶ 182.
               the transportation network.




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